               Case 17-57345-bem             Doc 16       Filed 05/26/17 Entered 05/26/17 18:46:31                     Desc
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                                                   IN THE UNITED STATES BANKRUPTCY COURT
                                                    FOR THE NORTHERN DISTRICT OF GEORGIA

IN RE:                Rashima S. Joseph                              §                 Case Number:      17-57345-BE-13
                                                                     §
                      Debtor(s)                                      §                 Chapter:          13
                                         REQUEST FOR NOTICE UNDER BANKRUPTCY RULE 2002
                  PLEASE TAKE NOTICE THAT Capital One Auto Finance, a division of Capital One, N.A. hereby gives notice as
         follows:
         Pursuant to 11 U.S.C. §342(f)(1), Ascension Capital Group hereby requests that:
                  (i)      all notices given or required to be given in the case; and
                  (ii)     all pleadings and correspondence served or required to be served in this case,
         regarding Capital One Auto Finance, a division of Capital One, N.A. should be directed to Ascension Capital Group at
         the following mailing address effective immediately:

                 Attn: Capital One Auto Finance, a division of Capital One, N.A. Department
                 Ascension Capital Group
                 Account: XXXXX7833
                 P.O. Box 165028
                 Irving, TX 75016

                  This request encompasses all notices, copies and pleadings referred to in Rules 2002, 9007 or 9008 of the
         Bankruptcy Rules, including, without limitation, notices of any Orders, Motions, Demands, Complaints, Petitions,
         Pleadings, Requests, Applications, Schedules, Statements, Plans, and any other documents brought before this court
         in this case, whether formal or informal, written or oral, or transmitted or conveyed by mail, delivery, telephone,
         telecopier, telex, or otherwise which affects or seeks to affect the above case.

                                                                   Respectfully submitted,

                                                                   /s/ Zann Welch
                                                                   Zann Welch
                                                                   Claims Processor
                                                                   Bankruptcy Servicer for Capital One Auto Finance, a division of
                                                                   Capital One, N.A.
                                                                   Ascension Capital Group
                                                                   P.O. Box 165028
                                                                   Irving, TX 75016
                                                                   (817) 277-2011, Fax (817) 461-8070
                                                                   ecfnotices@ascensioncapitalgroup.com
                                                                   File # 1011498
